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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 TALIA N. HARRISON,                             :
                                                :
                Plaintiff,                      :
                                                :
        vs.                                     :   Civil Action No.: 4:21-cv-00607
                                                :
 TYLER TECHNOLOGIES, INC.,                      :
                                                :
                Defendant.                      :

     UNOPPOSED MOTION FOR EXTENSION OF TIME FOR PLAINTIFF TO FILE A
     RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND FOR
                     DEFENDANT’S RESPONSE THERETO


       Pursuant to this Court’s Order of July 15, 2022 (ECF No. 24), the deadline for Plaintiff to

submit a Response to the Defendant’s Motion for Summary Judgment is August 26, 2022.

       However, the parties agreed to Plaintiff filing a response three weeks after Defendant’s

complete document production. Plaintiff received Defendant’s complete production on August 15,

2022. Plaintiff respectfully requests that the deadline for submitting a response to Defendant’s

Motion for Summary Judgement be rescheduled to September 5, 2022. Defendant is not opposed

to this extension, so long as the Court will also extend Defendant’s deadline to file its Reply to




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September 19, 2022. This extension is sought in good faith, before the deadlines have passed, and

is not filed for purposes of delay.



Dated: August 26, 2022


                                                Respectfully submitted,

                                                SHELLIST LAZARZ SLOBIN LLP

                                                s/ Melinda Arbuckle
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                                                   Counsel for Plaintiff




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                          CERTIFICATE OF CONFERENCE

       Counsel for Plaintiff conferred with counsel for Defendant regarding the relief
requested in this Motion on August 26, 2022 via email, and Defendant is unopposed to this
Motion.

                                                    s/Melinda Arbuckle
                                                    Melinda Arbuckle


                             CERTIFICATE OF SERVICE

       On August 26, 2022, I filed the foregoing document with the Clerk of Court for the
Eastern District of Texas using CM/ECF method of the Court. I certify that I have served all
counsel of record electronically thereby.

                                                    s/Melinda Arbuckle
                                                    Melinda Arbuckle




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